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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA           :
                                    :
       v.                           :              Case No. 21-CR-28 (APM)
                                    :
 DONOVAN CROWL,                     :
                                    :
       Defendant.                   :
____________________________________:

             GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION
                FOR RECONSIDERATION OF DETENTION ORDER

       The United States respectfully files this opposition to the defendant’s Motion For

Reconsideration of Detention Order. (ECF 92). For the reasons stated below, the defendant should

remain detained pending trial.

                                          ARGUMENT

       On January 19, 2021, Defendant Donovan Crowl was arrested on a complaint charging him

with conspiracy, in violation of 18 U.S.C. § 371; conspiracy to impede or injure an officer, in

violation of 18 U.S.C. § 372; destruction of government property, in violation of 18 U.S.C. § 1361;

obstruction of an official proceeding, in violation of 18 U.S.C. § 1512(c)(2); entering a restricted

building without lawful authority, in violation of 18 U.S.C. § 1752(a); and violent entry on Capitol

grounds, in violation of 40 U.S.C. § 5104(e)(2). On January 22, 2021, Magistrate Judge Sharon

Ovington of the Southern District of Ohio found by clear and convincing evidence that no

condition or combination of conditions set forth in 18 U.S.C. § 3142(c) would reasonably assure

the appearance of the defendant as required and the safety of the community. United States v.

Donavan Crowl, No. 3:21-MJ-24, (J. Ovington, January 16, 2021). Despite the evidence against
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the defendant now being stronger than at the initial detention hearing, the defendant requests that

the Court reconsider the 18 U.S.C. § 3142(g) factors.

        A Grand Jury has now indicted the defendant by finding probable cause for numerous

charges including 18 U.S.C. § 1361, an enumerated offense under 18 U.S.C § 2332(b)(g)(5)(B)

and § 3156(a)(4)(A) from which the presumption of detention arises. As outlined below, the factors

under 18 U.S.C. § 3142(g) favor detention now more than ever. The defendant remains a danger

and flight risk.

                                                Background

        The indictment alleges that on January 6, 2021, Defendant Crowl, while wearing battle

gear that included military-style fatigues, a helmet, goggles, and a protective vest, joined a line of

similarly attired individuals who moved in a disciplined and coordinated fashion up and through

the crowd that had gathered on the central staircase on the east side of the U.S. Capitol. A

screenshot of video footage of the group is below, with a portion of the “stack” encircled by a red

oval, with pictured Defendant Crowl at the bottom of the oval:




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At approximately 2:40 p.m., this “stack” forcibly entered the Capitol. The incursion into the

Capitol by Defendant Crowl’s group and hundreds of others caused a temporary halt to the Joint

Session of the U.S. Congress that had gathered to certify the vote of the Electoral College of the

2020 U.S. Presidential Election.

       Many of the individuals in Defendant Crowl’s group, including Defendant Crowl, wore

patches and clothing with logos and insignia of an organization known as the “Oath Keepers.” A

close-up view of the badges on the vest of one of these individuals, seen just under the Oath

Keepers emblem on his shirt, displays the Oath Keepers motto, “Not On Our Watch.” The badge

also says, “I don’t believe in anything. I’m just here for the violence.”




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       The Oath Keepers are a large but loosely organized collection of individuals, some of

whom are associated with militias. (ECF 77 at 4). The Oath Keepers are led by PERSON ONE.

On January 4, 2021, PERSON ONE posted an article to the Oath Keepers website encouraging

Oath Keeper members and affiliates to go to Washington, D.C., for the events of January 5-6,

2021, stating:

                “It is CRITICAL that all patriots who can be in D.C. get to D.C. to stand
       tall in support of President Trump's fight to defeat the enemies foreign and domestic
       who are attempting a coup, through the massive vote fraud and related attacks on
       our Republic. We Oath Keepers are both honor-bound and eager to be there in
       strength to do our part.”

       Evidence gathered to date suggests that Crowl was a “vetted” affiliate of the Oath Keepers.

On November 11, 2020, co-defendant Jessica Watkins wrote to a fellow member of the Oath

Keepers, “Hey [Oath Keeper Member], you still do vetting for OK's? I have one of my militia guys

coming to D.C. that needs to be vetted in order to participate[.] . . . [PERSON ONE] is allowing

non-members who have been vetted to participate in D.C. in order to maximize patriot

participance[.]” Later that evening, the other Oath Keeper member forwarded to Watkins a

message he had sent to PERSON ONE in which he stated, “Good evening sir Jess from Ohio

reached out to me to vett Donovan Crowl from Ohio . . . .” A little while later, the other Oath




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Keeper member wrote back to Watkins to say, “[PERSON ONE] said good to go vetted in tell my

new brother welcome[.]”

        Several days later, Defendant Crowl traveled with co-Defendant Watkins to the

Washington, D.C. area and participated with PERSON ONE and other members of the Oath

Keepers in an event colloquially referred to as the “Million MAGA March.” Co-defendant

Watkins and Defendant Crowl met co-defendant Thomas Caldwell on this trip and stayed at his

residence in Virginia for the event. For the events of November 14, 2020, PERSON ONE

organized a “QRF,” or “Quick Reaction Force,” which, in his words, consisted of “our most skilled

special warfare veterans standing by armed, just outside D.C., as an emergency QRF in the event

of a worst case scenario in D.C. (such as a ‘Benghazi’ style assault on the White House by

communist terrorists, in conjunction with stand-down orders by traitor generals).” 1

        Beginning in late December 2020, the defendant coordinated Washington, D.C. travel

plans with co-defendants Watkins, Caldwell and others for an “Oathkeeper Op.” (ECF 77 at 8-10).

These discussions included the transportation of guns, referred to as “heavies,” across state lines,

and night “hunting,” an apparent reference to attacking members of the group Antifa. (ECF 77 at

12-13). Specifically, on January 2, 2021, co-defendant Caldwell sent Defendant Crowl a Facebook

message informing him that PERSON THREE, who would be staying at the same hotel as

Defendant Crowl, and co-defendants Caldwell and Watkins, “will be the quick reaction force” and

“will have the goodies in case things go bad and we need to get heavy.” Defendant Crowl

responded a few hours later, “Thanks for all the info Sir. Jess and I got a room at your same motel.

We are enroute . . . . Be good to see your mug tomorrow Sir.”

        Further Facebook messages show that the defendant was not just a follower, but also a


1
  https://web.archive.org/web/20201112040027/https://oathkeepers.org/2020/11/call-to-action-march-on-dc-stop-
the-steal-defend-the-president-defeat-the-deep-state/


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leader. For example, in the days leading up to January 6, Defendant Crowl responded to multiple

requests from a third party on how to get involved:




Similarly, on the evening of January 5, 2021, Defendant Crowl sent a text message stating, “[T]his

is Donovan with Oathkeepers in D.C.. Give me a holler.” A few hours later, he messaged the same

individual, “Hey Brother, the whole convoy is leaving from here in the morning at 530. We are

getting up at 5. If you Uber over we’ll reimburse your fare.” Defendant Crowl later sent this person

the address where he and several of his co-defendants were staying.

       Further, the defendant demonstrated inside knowledge about the presence of covert Oath

Keeper members in rival political organizations. On January 5, 2021, the defendant had the



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following social media exchange:




       In short, the defendant was not only an affiliate of an organization that called for a halt to

the peaceful transition of power, but he was a leader. The defendant’s plans included violence. The

defendant planned to “hunt” enemies upon his arrival in Washington, D.C. and was ready for

violence.

       On January 6, when violence at the Capitol broke out, the defendant moved into action

with his co-conspirators. Several members of the conspiracy – including co-defendant Watkins,

with whom the defendant traveled to D.C. and to whom the defendant referred as his “captain” –

participated in a Signal chat titled “D.C. OP: Jan 6 21.” The chat shows that the participants were

activating a plan to use force on January 6. At approximately 1:38 p.m., PERSON ONE wrote,

“All I see is Trump doing is complaining. I see no intent by him to do anything. So the patriots

are taking it into their own hands. They’ve had enough.” At 2:14 p.m., an individual leading the

coordination of the security details run by the Oath Keepers on January 5-6 stated, “The have taken

ground at the capital[.] We need to regroup any members who are not on mission.” PERSON

ONE then reposted that message and instructed the group: “Come to South Side of Capitol on



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steps” and then sent a photograph showing the southeast side of the Capitol. At 2:41 p.m.,

PERSON ONE posted another photograph showing the southeast side of the Capitol with the

caption, “South side of US Capitol. Patriots pounding on doors[.]” At approximately 2:40 p.m.,

the conspirators, including Defendant Crowl, forcibly entered the Capitol in stack formation

through the Rotunda door in the center of the east side of the building.

          In the minutes directly prior to Defendant Crowl’s breach of the Capitol, hundreds of rioters

surrounded and assaulted law enforcement officers who were attempting to prohibit entry at the

East doors. Video captures the officers in the terrifying final minutes before the breach occurs, as

they try to stop the rioters. 2 The collective mob pushes forward with a common goal yelling “Take

their shields,” “Drag ‘em out,” “Our house,” and “We want Trump!” The rioters fire pepper spray

at the officers (which strikes the Capitol doors), beat the officers with shields and flagpoles, and

fire numerous projectiles at the officers and the doors. When the rioters at large, including the

defendant, eventually gain entry a woman shouts “We did it,” as alarm bells blare. Publicly

available photographs then show the defendant in his Oath Keeper uniform inside the capitol:




2
    https://www.youtube.com/watch?app=desktop&v=MVullQb-Lec (Oath Keeper stack visible at 4:10)


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Once inside, video shows various Oath Keepers continuing their assault and yelling “Push”


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as they try to surge past another line of police officers. 3 Co-defendant Watkins characterized their

insurgent effort to breach the Capitol building as “forcing entry into the Capitol building” and said

that it was “[f]orced. Like Rugby.” On the afternoon and evening of January 6, co-defendant

Graydon Young (Defendant Steele’s brother) wrote on Facebook that “[w]e stormed and got

inside,” and co-defendant Kelly Meggs wrote in a Signal chat, “Ok who gives a damn who went

in there…. We are now the enemy of the State.” An hour later, co-defendant Kelly Meggs wrote

to the same Signal chat: “We aren’t quitting!! We are reloading!!”

           Although law enforcement was able to re-gain control of the building and Congress did in

fact certify the Electoral College vote during the evening of January 6, this was not the end for the

defendant, as he bragged about his participation in the conspiracy and plotted his next move. In

Facebook messages, the defendant said:




           The defendant and his co-defendant Watkins (identified as “Jolly Roger” in the exchange

below) shared their intent to continue the conspiracy to prevent the peaceful transition of power

and take up armed rebellion through messages sent on January 11:


3
    https://twitter.com/i/status/1373031864961802246; https://twitter.com/i/status/1373032386720636928



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       Ultimately, prior to his arrest, it appears that Defendant Crowl traveled with co-defendant

Watkins to the home of co-defendant Caldwell. Co-defendant Caldwell invited Defendant Crowl

and co-defendant Watkins to stash their “battle rattle” at his home, but Defendant Crowl had

already ditched the protective vest he wore that day – a vest with the identifying nickname of

“Trapper” – at the home of an acquaintance (law enforcement recovered the vest during a search

of that acquaintance’s premises). As they traveled to co-defendant Caldwell’s residence, the

defendants remained intent on evading detection and protecting the conspiracy. Co-defendant

Caldwell instructed Defendant Crowl,




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                                        Legal Standard

       The defendant seeks review of Magistrate Judge Ovington’s detention order by filing a

motion to revoke the order or amend the conditions of release. 18 U.S.C. § 3145(b). This Court’s

review of the magistrate judge’s order is "de novo" to determine whether any "condition or

combination of conditions will reasonably assure the appearance of the person as required and the

safety of any other person and the community." 18 U.S.C. § 3142(e). At a detention hearing, the

government may present evidence by way of a proffer. United States v. Smith, 79 F.3d 1208, 1209-

10 (D.C. Cir. 1996).




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                                            Argument

       Every factor under 18 U.S.C. § 3142(g) points to the necessity of the defendant’s continued

detention. He is both a danger and a risk of flight. Since the defendant planned to travel to D.C. to

cause violence, moved throughout the Capitol in a coordinated military maneuver, and planned to

continue the conspiracy after the riots, he should be held.

A) No Condition or Combination of Conditions Can Reasonably Assure the Safety of the

Community.

   1) Nature and Circumstances of the Offense Charged Warrant Detention.

       The defendant and his confederates stormed the United States Capitol on January 6, 2021.

Dressed in tactical gear, the defendant forced his way inside the Capitol building.             That

unprecedented takeover halted Congress’s vote to certify the electoral college results, placed in

jeopardy the lives of members of Congress and those law enforcement officers assigned to protect

them, and resulted in damage to the Capitol building. The nature and circumstances of the

defendant’s offenses, in short, were among the most serious imaginable.

       Among the crimes with which the defendant has been indicted is 18 U.S.C. § 1361. Section

1361, which prohibits willfully injuring or committing depredations against government property,

carries particular significance for purposes of detention for two reasons. First, as committed here,

it amounts to a federal crime of terrorism. See 18 U.S.C.A. § 2332b (Defining Crime of Terrorism

an offense “calculated to influence or affect the conduct of government by intimidation or

coercion, or to retaliate against government conduct”). The peaceful transfer of power is the

foundation of American democracy. Defendant Crowl halted, if only temporarily, this process by

storming the Capitol during the certification of the Electoral College vote. One segment of the

Defendant’s terroristic actions on January 6 was the destruction of the doors to the Capitol, through




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which he gained entry. 4

        Second, Section 1361 is a crime of violence. Under § 3156(a)(4)(A), a “crime of violence”

is “an offense that has an element of the offense the use, attempted use, or threatened use of

physical force against the person or property of another.” Video from the riot shows that the East

Capitol doors were destroyed via individuals smashing windows, throwing projectiles, and

spraying chemical irritants, among other means. The destruction of these doors through violence

is, therefore, a crime of violence. See Johnson v. United States, 559 U.S. 133, 140 (2010) (holding

that “in the context of a statutory definition of ‘violent felony,’ the phrase ‘physical force’ means

violent force—that is, force capable of causing physical pain or injury to another person.”).

        This Court should order that the defendant remain held pending trial for his brazen and

unapologetic participation in offenses that are among “the more threatening to our way of life.”

United States v. Eric Munchel, No. 1:21-cr-00118, (J. Lamberth, February 17, 2021). “The actions

of this violent mob, particularly those members who breached police lines and gained entry to the

Capitol, are reprehensible as offenses against morality, civic virtue, and the rule of law.” United

States v. William Chrestman, No. 1:21-mj-00218, (C.J. Howell, February 26, 2021). Chief Judge

Howell recently enumerated factors she considered when evaluating government requests for pre-

trial detention, which included:

    •   “Any indication that a defendant engaged in prior planning before arriving at the Capitol,
        for example, by obtaining weapons or tactical gear, suggests that he was not just caught up
        in the frenzy of the crowd, but instead came to Washington, D.C. with the intention of
        causing mayhem and disrupting the democratic process”
    •   “Evidence of coordination with other participants before, during, or after the riot indicates
        that a defendant acted deliberately to amplify and assure the success of the breach of the
        Capitol”
    •   “words and movements during the riot reflect[ing] the egregiousness of his conduct.”


4
 The court need not consider the valuation question under 18 U.S.C. § 1361 at this stage in the proceedings. The
nature and circumstances of the offense in 3142(g)(1) refer to a Federal crime of terrorism, which, under
2332b(g)(1)(B), doesn’t distinguish between misdemeanor and felony violations of 1361.


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   Id. At 15-16.

       Based on the factors laid out by Chief Judge Howell, the nature and circumstances of the

offense favor detention. The defendant traveled to Washington, D.C. as part of a call to arms,

planned to hunt his enemies while there, dressed in tactical gear on the day of the riots, and then

conspired with other Oath Keepers to breach the Capitol.

       The defendant makes several claims in his motion that are wholly inconsistent with both

the defendant’s words and actions. For example, the defendant’s claims that “His only purpose for

coming to the District was to support then-President Trump and to provide private security.” (ECF

92 at 14). Not so. At referenced above, at a minimum, the defendant came to D.C. to “hunt” and

therefore terrorize his perceived enemies. He was also aware that other members of the conspiracy

were bringing weapons to the area to serve as a “quick reaction force” to support his and his co-

conspirators’ mission. In other words, well before January 6, the defendant readily heeded

PERSON ONE’s “call to arms” and expressed a willingness to cause violence and mayhem in

support of his group’s goals.

       The defendant wholly minimizes his conduct by claiming that he “did not damage any

property” and that “other persons, not associated with Mr. Crowl, had torn down barricades,

broken windows and forced entry into the Capitol.” (ECF 92 at 13). While others may have

breached the first perimeter of law enforcement by assaulting officers and overturning barricades,

the defendant was only able to advance toward the Capitol due to their efforts. While others may

have been the first to smash the windows to the doors of the Capitol and begin the process of

gaining entry by destroying its doors, the defendant was only able to advance toward the threshold

of the Capitol due to their efforts. While others may have pushed officers out of the way at the

threshold of the door, the defendant gained entry to the Capitol only because of their efforts. The




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defendant was able to accomplish his intent due to the violence of others. This hardly immunizes

him from criminal liability.

         More to the point, publicly available video from outside the east side Rotunda entrance

shows that shortly before 2:40 p.m., Defendant Crowl’s group was immediately behind the front

line of the mob, supporting them as they attacked the officers guarding the doors, launched

projectiles at the officers and the doors, fired pepper spray at the officers (which appeared to strike

the doors), and ultimately forced the doors open. The struggle to open the doors involved violent

yanking. Moments later, Defendant Crowl and his group surged forward with the crowd and

forcibly entered the Capitol. The doors suffered significant damage during this assault, including

not only broken glass windowpanes, but also a broken handle and a broken door closer arm (likely

the result of the violent yanking on the door), and damage from substances that could have been

caused by the pepper spray fired by the crowd. Each of these discrete categories of damage to the

door has cost or will cost more than $1,000 to repair, according to a representative of the Architect

of the Capitol. 5

    2) The Weight of the Evidence Against the Defendant Favors Detention.

         The evidence against the defendant also weighs in favor of detention. It is undisputed that

the defendant (i) traveled to D.C. (in the defendant’s own words) to “hunt,” (ii) was part of an

organization whose leader called the democratic proceedings a “coup,” (iii) dressed in full combat

gear on the day of the Electoral College certification, (iii) breached the Capitol in a military

formation while Congress was attempting to certify the Electoral College vote, and (iv) then

strategized about taking up armed rebellion following the restoration of order at the Capitol. Even


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  The United States Capitol suffered additional damage, as well, in areas where members of the conspiracy were active.
Once inside the Rotunda, various Oath Keepers attempted to push through an additional line of officers who were
guarding access to the Senate. In response to the attack, police officers deployed pepper spray. The Rotunda, including
its artwork, has required extensive restoration as a result.


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on the evidentiary issues that the defendant does claim are in dispute, his claims fail.

                    a) The Defendant Intended to Obstruct the Congressional Proceedings.

           As evidenced by his attire during the Capitol riots, the defendant was a vetted affiliate of

the Oath Keepers, a militia organization whose leader, prior to January 6, was actively calling on

the President to invoke the Insurrection Act, as part of an effort to prevent a democratic transfer of

power. On January 6, during the congressional proceeding to certify the Electoral College vote—

the results of which the defendant wrongly believed to be fraudulent—the defendant and his co-

conspirators joined together in military formation and breached the Capitol building along with

hundreds of rioters. Upon entering the Capitol, the defendant joined with his co-conspirators in

attempting to push past a police line guarding a hallway leading down the Senate side of the

building. The defendant also celebrated with co-defendant Watkins. In a Parler video compiled by

ProPublica, 6 co-defendant Watkins and Defendant Crowl are shown together in the Capitol

Rotunda. Defendant Crowl says, “We took on the Capitol! We overran the Capitol!” Co-

defendant Watkins exclaims, “We’re in the fucking Capitol, [unintelligible]!” Co-defendant

Watkins and Defendant Crowl turn the camera around for a video selfie to document the moment:




6
    https://projects.propublica.org/parler-capitol-videos/ (last accessed January 19, 2021).


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The defendant’s intent to disrupt the proceedings can easily, therefore, be inferred through both

his actions and words prior to and during the riots of January 6. 7 In short, the defendant was

prepared for violence with his co-conspirators and, when the opportunity arose, seized the initiative

to disrupt the transfer of power by breaching the Capitol as Congress attempted to certify the

election.

                  b) The Defendant Aided and Abetted in the Destruction of the Capitol.

         The East doors to the Capitol suffered thousands of dollars’ worth of damage due to broken

windowpanes, broken door handles, broken door arms, liquid and substance staining and graffiti.

The damage was caused by hundreds of rioters attempting to open the doors and violently enter



7
  As a secondary argument, the defendant also claims that he could not have obstructed the official proceeding since
Congress had already been adjourned by the time he breached the Capitol. This argument strains reality for obvious
reasons. Congress could not reconvene to certify the electoral college vote with organized militias and rioters engaged
in violent confrontations with law enforcement inside the Capitol.



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the Capitol. The defendant and the “stack” gained entry to those doors and aided and abetted in

their destruction.

       While aiding and abetting liability requires the aider-abettor to form an intent to facilitate

the commission of the crime by a principal, the law does not require a perfectly shared-intent.

United States v. Moore, 651 F.3d 30, 91 (D.C. Cir. 2011) (requiring “proof of some shared intent”

but not a perfect overlap). Here, the common design of the rioters directly outside the East doors

was to gain entry through those doors and to obstruct the proceedings within. “[O]nce a common

design is established, the aider and abettor is responsible not only for the success of the common

design, but also for the probable and natural consequences that flow from its execution, even if

those consequences were not originally intended.” United States v. Walker, 99 F.3d 439, 443 (D.C.

Cir. 1996); see also United States v. Davis, 828 F. Supp. 2d 405, 409 (D. Mass. 2011), aff'd, 717

F.3d 28 (1st Cir. 2013) (“It takes no great leap of imagination to recognize that the ‘probable and

natural consequences’ doctrine of aiding and abetting, which holds an accomplice responsible for

all foreseeable criminal acts flowing from the common scheme (a form of Pinkerton liability), a

doctrine recognized in all Circuits (although not always consistently applied), would be defeated

by any definition of aiding and abetting that required the accomplice to have perfect knowledge of

the details of the crimes the principal intended to commit.”) (citing Walker, supra). The destruction

of the Capitol doors was a natural and probable consequence of the rioters’ intent on disrupting

the proceedings within, especially given that the group of rioters that the defendant and his co-

conspirators joined began their attack by aggressively gathering around and berating the officers

who were guarding the door to let them in.

       The defendant claims that he had no part in aiding and abetting the destruction of the doors,

because he did not throw a projectile and because the doors had already suffered damage when he




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entered. The government wholly acknowledges that the destruction of the doors began

approximately 20 minutes earlier, but, as evidence in the video referenced in footnote 2

demonstrates, the rioters continued to cause damage to the doors up to and including the very

minute that the defendant breached them. Under such a circumstance, it is irrelevant whether the

defendant, as opposed to a rioter standing next to him, personally hurled a projectile or sprayed an

irritant at the East door. Defendant Crowl and his co-conspirators joined the crowd of rioters at the

East door, physically supported them with their presence as they attacked the doors and the officers

guarding them, and acted with the same collective intent to force their way inside. Under these

circumstances, the ensuing destruction of the doors was a natural consequence of the conduct that

the defendant aided and abetted.

                 c) The Defendant Knew He was Entering a Restricted Area When He

                   Breached the Capitol.

       Video evidence quickly dispels the defendant’s claim that “there is no evidence that the

East entrance to the Capitol, which he allegedly used to enter the Capitol, was locked or otherwise

posted as restricted to the public when he allegedly entered.” (ECF 92 at 15). In the moments

immediately preceding the breach by the defendant, rioters violently assaulted officers standing

guard at the doors, including beating them with Trump flagpoles. They shouted, “Get their shield,”

“Move!” “Drag ‘em out!” Officers attempted to dodge the rioters’ projectiles and pepper spray.

The windows of the Capitol door were smashed. The defendant, in stack formation with his co-

defendants, weaved to the front of the crowd. Upon entry to the Capitol, alarm bells rang loudly

signally the breach. No reasonable individual could have any expectation that he had a lawful right

to be present.

   3) The Defendant’s History and Characteristics Also Favor Detention Because the




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       Defendant’s Recent Participation in Storming the US Capitol is More Relevant Than

       His History of Past Service.

       The defendant points to his past military service and that he once coached youth sports to

support his release. These arguments should not sway the Court.

       Nothing in the record suggests that he has any remorse about the events of January 6 or has

disclaimed the beliefs and his actions on that day, and thus there is no evidentiary basis to assume

that defendant will refrain from similar activities, if instructed, in the future. In the days

immediately following the riots, the defendant bragged about his criminal conduct and described

it as “epic.” Importantly he stated, “The Storm has arrived.” The defendant’s reference to “The

“Storm” should gravely concern the Court as this is a common QAnon concept. Central to the

QAnon conspiracy theory is the false belief of the existence of a secret cabal of Satan-worshipping

pedophiles and child-traffickers. The “Storm” refers to a day of violence that will result in mass

arrests, military trials, and executions of the members of the cabal. According to QAnon lore, “the

Storm”, will be followed by the “Great Awakening,” which generally refers to the belief that the

truth of the central tenets of QAnon will be revealed to the world. The defendant’s ongoing belief

and actions on behalf of a wholly unfounded conspiracy theory speaks to his dangerousness and

calls into question whether the defendant would comply with any conditions of release.

   4) The Defendant is an Ongoing Danger.

       The defendant’s actions on January 6, as well as his statements and actions following the

riot, show that he is an ongoing danger. The Court should put little weight on any peaceful

interaction the defendant had with officers on the evening of January 6. (ECF 92 at 16). At the

time, law enforcement was regrouping after being overrun by the rioters and the defendant was

not a suspect or wanted for arrest. The defendant would have no reason to flee from law




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enforcement at that time, and flight would have only aroused suspicion. His actions are consistent

with any still anonymous subject fleeing a crime scene who wanted to evade detection.

          The danger that the defendant presents is best demonstrated in his private conversations

following January 6. As referenced above, the defendant and co-defendant Watkins referenced

receiving potential material support from other Oath Keepers not currently charged in the

conspiracy. This conversation included Defendant Crowl and co-defendant Watkins, colluding

with others, to wage a guerilla war against the United States, and imitating the strategies of the

“NVA,” also known as the Army of North Vietnam. The NVA killed thousands of American

soldiers in guerilla warfare from the 1950s through the 1970s. The defendant needs to be taken at

his own word. He continues to pose a danger to the United States and its citizens, now more than

ever since the transfer of power has been completed.

B) The Defendant Poses a Flight Risk.

          Finally, detention is necessary because the defendant’s release poses a serious risk of flight

under 18 U.S.C. § 3142(f)(2). As noted above, in the days after January 6, the defendant discussed

with co-defendant Watkins seeking shelter with sympathetic Oath Keepers who had lodging in the

mountains. In addition, prior to his arrest, Defendant Crowl ditched an identifying piece of his

battle gear at the home of an acquaintance and traveled to the home of co-defendant Caldwell who

directed him not to communicate over the phone and to double back on the highway to avoid being

followed. The defendant is a sophisticated individual with a demonstrated ability to take measures

to avoid detection and is likely to have the support of his fellow militia member’s in any potential

flight.




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                                      CONCLUSION

       There are no conditions or combination of conditions that will reasonably assure the safety

of the community or the defendant’s submission to this Court’s authority. The defendant’s actions

are uniquely threatening to our democratic way of life. This Court should thus deny the defendant’s

motion for release.



                                       Respectfully submitted,

                                       CHANNING D. PHILLIPS
                                       ACTING UNITED STATES ATTORNEY

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                               CERTIFICATE OF SERVICE

        I hereby certify that on March 24, 2021, I sent a copy of the foregoing via the Court’s
electronic filing system to Carmen Hernandez, Esq., counsel for the defendant.


                                     /s/
                                     LOUIS MANZO
                                     Special Assistant United States Attorney
